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  Attorneys for Defendants


                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

 ELI LILLY AND COMPANY,                       Civil Action No. 2:25-cv-02183 (MEF) (MAH)

                      Plaintiff,
                                                           Electronically Filed
               vs.
                                                  NOTICE OF MOTION TO DISMISS
 EMPOWER CLINIC SERVICES, LLC                       PLAINTIFF’S COMPLAINT
 d/b/a EMPOWER PHARMACY,
 EMPOWER CLINIC SERVICES NEW                      To: Hon. Michael E. Farbiarz, U.S.D.J.
 JERSEY, LLC d/b/a EMPOWER
 PHARMA,                                           Return Date: To Be Set by the Court
                      Defendants.
                                                        Oral Argument Requested


 TO:     Liza M. Walsh
         Selina M. Ellis
         Lauren R. Malakoff
         WALSH PIZZI O’REILLY FALANGA LLP
         Three Gateway Center


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        100 Mulberry Street, 15th Floor
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        (973) 757-1100
        Attorneys for Plaintiff

        PLEASE TAKE NOTICE that on a date and time to be set by the Court in accordance with

 the Court’s Order at ECF No. 11, the undersigned attorneys for Defendants Empower Clinic

 Services, LLC d/b/a Empower Pharmacy; and Empower Clinic Services New Jersey, LLC d/b/a

 Empower Pharma, shall move before the Honorable Michael E. Farbiarz, United States District

 Judge for the District of New Jersey, for an Order dismissing Plaintiff’s Complaint for failure to

 state a claim upon which relief can be granted pursuant to Rule 12(b)(6) of the Federal Rules of Civil

 Procedure.

        PLEASE TAKE FURTHER NOTICE that in support of its motion, Defendants will rely

 on the accompanying Memorandum of Law and Declaration of Stephen M. Orlofsky.

        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted with this

 motion.

        PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule 78.1, Defendants

 request oral argument.



 Dated: June 5, 2025                          s/ Stephen M. Orlofsky

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                                CERTIFICATION OF SERVICE

        I certify that on this date, I caused a copy of the foregoing Notice of Motion to Dismiss

 Plaintiff’s Complaint, Memorandum of Law in Support of Motion to Dismiss, Declaration of

 Stephen M. Orlofsky, and proposed form of Order to be filed and served on the Clerk and all counsel

 of record via the Court’s CM/ECF system.


                                                     s/ Stephen M. Orlofsky
                                                     Stephen M. Orlofsky

 Dated: June 5, 2025




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